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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Tanika Beaulieu
                                  Plaintiff,
v.                                                  Case No.: 1:17−cv−05672
                                                    Honorable Rebecca R. Pallmeyer
Cigna HealthSpring, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 8, 2018:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Status hearing held
on 8/8/2018. Plaintiff's motion to compel production of documents not produced [47] is
granted in part and denied in part. Status hearing set for 9/6/2018 at 12:00 PM. Mailed
notice. (etv, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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